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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,                 §
                                              §
         Plaintiffs,                          §
  v.                                          §   Civil Action No. 4:20-cv-00957-SDJ
                                              §
  GOOGLE LLC,                                 §
                                              §
         Defendant.                           §

                                          ORDER

       Having considered Plaintiffs’ Motion for Modification of the Scheduling Order, ECF No.

 432, Google’s Response, and any replies, the Court finds that Plaintiffs’ Motion should be

 denied. It is therefore ORDERED that Plaintiffs’ Motion for Modification of the Scheduling

 Order is DENIED.
